                           IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF IOWA
                                                 EASTERN        DIVISION
UNITED STATES OF AMERICA,                                                     HEARING MINUTES Sealed: No
             Plaintiff(s)                                                     Case No.: 2:23-cr-1013-CJW-MAR-2
      vs.                                                              Presiding Judge: Mark A. Roberts
SILVESTER JAMERAL DURRAH                                                  Deputy Clerk: Rachel J. Scott
             Defendant(s)                                        Official Court Record: FTR Gold
                                                                  Contact Information: --
Date:     6/20/2023 Start:      10:56 AM Adjourn: 11:01 AM Courtroom: 4, 4th Floor
Recesses:                                                Time in Chambers:                                         Telephonic?    --
Appearances:        Plaintiff(s): AUSA Nicole Lyn Nagin
                   Defendant(s): Webb L. Wassmer (Defendant appears personally)
                 U.S. Probation: USPO Tiffany Schuette
                     Interpreter:              --                Language:      --                  Certified:    --    Phone:    --
TYPE OF PROCEEDING:        INITIAL APPEARANCE:              X   AND/OR        ARRAIGNMENT:            X
                                                                        Contested?    No     Continued from a previous date?      No
                               Date of indictment: 05/03/2023
                     Was defendant Mirandized? Yes
                               Defendant pleaded Not guilty to counts 1, 2-6, 12, 13 of the indictment
                    Counsel:          Retained X Appointed (FPD or CJA Panel):                     CJA Panel Webb L. Wassmer
                    Stipulation to discovery plan?     Yes Did defendant provide financial affidavit? Yes
                    Did the government move for detention?           Yes Was the defendant detained?        Yes
                            Detention hearing: Waived
                                     Trial date: 10/16/2023 9:00 AM CJW
                      Witness/Exhibit List is
                    The offering party must, within 3 days after the hearing, file in electronic form any exhibit that was not filed
                    with a motion, resistance, or other filing related to this hearing. Pub. Admin. Order 09-AO-03-P (5/29/09) ¶7.
                    Miscellaneous: Defendant waives formal requirement to have indictment read in court.




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